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                                  EXHIBIT A
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Eat Here Brands, LLC, et al. - Service List to e-mail Recipients          Page 3 of 6                                     Served 9/10/2019

27 PEOPLE AND/OR ENTITIES WHO HAVE EXPRESSED AN INTEREST IN PURCHASING EAT HERE BRANDS, LLC ET AL. ASSETS WERE SERVED. THE NAMES OF THESE
PARTIES HAVE NOT BEEN STATED DUE TO THE NEED TO MAINTAIN CONFIDENTIALITY.
              Case 19-61688-wlh             Doc 116        Filed 09/11/19 Entered 09/11/19 17:56:04
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                                                           Document     Page 4 of 6
AMFIRST INSURANCE CO LT                            ARNALL GOLDEN GREGORY LLP                 ARNALL GOLDEN GREGORY LLP
RICHARD EATON                                      DARRYL S. LADDIN                          SEAN C. KULKA
RICK.EATON@MORGANWHITE.COM                         DARRYL.LADDIN@AGG.COM                     SEAN.KULKA@AGG.COM


BENNETT THRASHER                                   BURR & FORMAN LLP                         EDWARD DON AND CO
DAVID KLOESS                                       KELLY E. WAITS                            CINDY NIEWINSKI
DAVID.KLOESS@BTCPA.NET                             KWAITS@BURR.COM                           CINDYNIEWINSKI@DON.COM


G. DALE SMITH                                      INLAND SEAFOOD                            IRBY INVESTMENTS, LLC
GDALELS@AOL.COM                                    CALLIE LEMMING                            CHARLES IRBY
                                                   CALLIE.LEMMING@INLANDSEAFOOD.COM          CHARLES@IRBYINVESTMENTS.COM


JONES WALKER LLP                                   LONDON AMERICAN INSURANCE CO.             MORRIS, MANNING & MARTIN, LLP
 JEFFREY R. BARBER                                 RICK EATON                                FRANK W. DEBORDE
JBARBER@JONESWALKER.COM                            RICK.EATON@MORGANWHITE.COM                FWD@MMMLAW.COM


MORRIS, MANNING & MARTIN, LLP                      OFFICE OF THE UNITED STATES TRUSTEE       RICHARD A WARREN, IRA
GWENDOLYN J. GODFREY                               LINDSAY P.S KOLBA                         RICHARD WARREN
WGODFREY@MMMLAW.COM                                LINDSAY.P.KOLBA@USDOJ.GOV                 RWARREN330@GMAIL.COM


ROBIN C. SELBY RLT                                 ROUNTREE LEITMAN & KLEIN, LLC             SCROGGINS & WILLIAMSON, P.C
ROBIN SELBY                                        HAL J. LEITMAN                            J. ROBERT WILLIAMSON
ROBIN@PREMIERE-SEALS.COM                           HLEITMAN@RANDLLAW.COM                     RWILLIAMSON@SWLAWFIRM.COM


SCROGGINS & WILLIAMSON, P.C.                       STACK & MOYER FAMILY HLDG LLC             SYSCO ATLANTA - 684530
J. HAYDEN KEPNER, JR.                              MIKE STACK                                DESIREE GEEGAN
HKEPNER@SWLAWFIRM.COM                              MJSTACK100@GMAIL.COM                      GEEGAN.DESIREE@CORP.SYSCO.COM


SYSCO BIRMINGHAM - 621110                          SYSCO JACKSON LLC                         SYSCO KNOXVILLE LLC
GEEGAN.DESIREE@CORP.SYSCO.COM                      DESIREE GEEGAN                            DESIREE GEEGAN
                                                   GEEGAN.DESIREE@CORP.SYSCO.COM             GEEGAN.DESIREE@CORP.SYSCO.COM


SYSCO OVERTON-741751                               THE MAXIM LAW FIRM, P.C.                  THEODORE N. STAPLETON, P.C.
DESIREE GEEGAN                                     KEVIN A. MAXIM                            THEODORE STAPLETON
GEEGAN.DESIREE@CORP.SYSCO.COM                      KMAXIM@MAXIMLAWFIRM.COM                   TSTAPLE@TSTAPLE.COM


TN DEPT OF REVENUE                                 WOMBLE BOND DICKINSON, LLP
STUART WILSON-PATTON                               CONSTANCE L. YOUNG
STUART.WILSON-PATTON@AG.TN.GOV                     CONSTANCE.YOUNG@WBD.US.COM


                                                                                         Parties Served: 29




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                                  EXHIBIT B
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ALABAMA DEPARTMENT OF REVENUE                    AMERICAN EXPRESS                        ANDREW M SAMPSON
BANKRUPTCY/LEGAL DEPT.                           PRESIDENT/LEGAL DEPT.                   1502 KENSINGTON AVE
2020 VALLEYDALE RD, STE 2108                     PO BOX 650448                           OCEAN SPRINGS, MS 39564
HOOVER, AL 35244                                 DALLAS, TX 75265-0448




CITY OF ALANTA                                   EAT HERE BRANDS LLC. ET AL.             ESTATE OF SIDNEY ALLEN
BANKRUPTCY/LEGAL DEPT.                           PRESIDENT/LEGAL DEPT.                   200 BRAE BURN DRIVE
55 TRINITY AVE, STE 1350 SW                      9755 DOGWOOD RD, STE 200                JACKSON, MS 39211
ATLANTA, GA 30345                                ROSWELL, GA 30075




FLORIDA CONCEPTS HOLDINGS, LLC                   GEORGIA DEPARTMENT OF REVENUE           GERALD J. DIAZ, JR.
PRESIDENT/LEGAL DEPT.                            BANKRUPTCY/LEGAL DEPT.                  208 WATERFORD SQUARE
36750 US HWY 19 NORTH                            1800 CENTURY BLVD                       SUITE 300
PALM HARBOR, FL 34684                            ATLANTA, GA 30345                       MADISON, MS 39110




HENRY F SKELTON, II                              INLAND JACKSON-33017                    INLAND OVERTON-38470
500 ANGLERS DR, UNIT 102                         PRESIDENT/LEGAL DEPT.                   PRESIDENT/LEGAL DEPT.
STEAMBOAT SPRINGS, CO 80487                      PO BOX 450669                           PO BOX 450669
                                                 ATLANTA, GA 31145                       ATLANTA, GA 31145




INTERNAL REVENUE SERVICE                         JAMES W. CORLEY                         JEFFERSON COUNTY DEPARTMENT OF REVENUE
CENTRALIZED INSOLVENCY OPERATION                 6658 YOSEMITE LANE                      BANKRUPTCY/LEGAL DEPT.
2970 MARKET STREET                               DALLAS, TX 75214                        P.O. BOX 12025
MAIL STOP 5-Q30-133                                                                      BIRMINGHAM, AL 35283-2025
PHILADELPHIA, PA 19104-5016



JEFFERSON COUNTY DEPARTMENT OF REVENUE           KATHLEEN HOUSE HARDIN, ROTH IRA         MELISSA SKELTON
BANKRUPTCY/LEGAL DEPT.                           2210 HERITAGE HILL DR                   133 CAMDEN LANE
P.O. BOX 830710                                  JACKSON, MS 39211                       MADISON, MS 39110
BIRMINGHAM, AL 35283-0710




MISSISSIPPI DEPARTMENT OF REVENUE                MISSISSIPPI DEPARTMENT OF REVENUE       OFFICE OF THE ATTORNEY GENERAL
BANKRUPTCY/LEGAL DEPT.                           BANKRUPTCY/LEGAL DEPT.                  STATE OF GEORGIA
1577 SPRINGRIDGE                                 500 CLINTON CENTER DR                   40 CAPITOL SQUARE SW
RAYMOND, MS 39514                                CLINTON, MS 39056                       ATLANTA, GA 30334




PAUL BROOKS EASON                                ROGER G. OR JAN E. FOSTER               SAR & ASSOCIATES INC
103 OAKHURST TRAIL                               1120 POINTE COVE                        PRESIDENT/LEGAL DEPT.
RIDGELAND, MS 39157                              BRANDON, MS 39042                       73 WOODSTOCK RD
                                                                                         ROSEWELL, GA 30075-3560




SYSCO MEMPHIS                                    TENNESSEE DEPARTMENT OF REVENUE         THE U.S. ATTORNEY FOR THE NORTHERN DISTRIC
PRESIDENT/LEGAL DEPT.                            BANKRUPTCY/LEGAL DEPT.                  CIVIL PROCESS CLERK
4359 B.F. GOODRICH BLVD                          500 DEADERICK ST                        NORTHERN DISTRICT OF GEORGIA
MEMPHIS, TN 38118                                NASHVILLE, TN 37242                     75 TED TURNER DR, SW STE 600
                                                                                         ATLANTA, GA 30303-3309


                                                                                     Parties Served: 27




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